
ORDER
Considering the Motion for Interim Suspension for Threat of Harm to the Public filed by the Office of Disciplinary Counsel,
IT IS ORDERED that respondent, J. Blake Deshotels, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court.
IT IS FURTHER ORDERED that pursuant to Supreme Court Rule XIX, § 27, the presiding judge in the Thirteenth Judicial District Court for the Parish of Evangeline is ordered to appoint a lawyer or lawyers to conduct an inventory of respondent’s files and to take action as appropriate to protect the interests of respondent’s clients.
Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately-
/s/ Bernette J. Johnson
Justice, Supreme Court of Louisiana
